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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

Jessica Lewis,                                       *      Civil Action No. 2:22-cv-04143
       Plaintiff                                     *
                                                     *
vs.                                                  *      Judge Eldon E. Fallon
                                                     *
Plaquemines Parish School Board,           *
       Defendant                           *     Magistrate Karen Wells Roby
                                           *
******************************************************************************
                   MOTION TO WITHDRAW COUNSEL OF RECORD

       NOW INTO COURT, through undersigned counsel, comes defendant, Plaquemines Parish

School Board, who moves the Court to withdraw Melissa S. Losch, Bar Roll No. 26811, as counsel of

record as she is no longer affiliated with the law firm of Hammonds, Sills, Adkins, Guice, Noah and

Perkins, LLP. Undersigned counsel has contacted Ms. Losch who consents to this motion.

       Respectfully submitted, this the 21st day of July, 2023

                                             HAMMONDS, SILLS, ADKINS,                     GUICE,
                                             NOAH & PERKINS LLP
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                                             Baton Rouge, Louisiana 70808
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                                             /s/ Robert L. Hammonds
                                             ROBERT L. HAMMONDS
                                             Louisiana Bar Roll No. 6484
                                             PAMELA WESCOVICH DILL
                                             Louisiana Bar Roll No. 31703
                                             JOHN R. BLANCHARD
                                             Louisiana Bar Roll No. 37036




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                                  CERTIFICATE OF CONSENT

        I hereby certify that pursuant to Local Rule 83.2.11 that I have contacted the withdrawing

counsel, Melissa S. Losch, and obtained her consent to file the instant Motion to Withdraw Counsel.

        SO CERTIFIED, this the 21st day of July, 2023.

                                                                  s/ Robert L. Hammonds
                                                                 ROBERT L. HAMMONDS


                                   CERTIFICATE OF SERVICE

        I do hereby certify that, on the date stated below, a true and correct copy of the above and

foregoing MOTION was filed electronically with the Clerk of Court using the CM/ECF system.

Notice of this filing will be sent to all counsel by operation of the court’s electronic filing system.


                BATON ROUGE, LOUISIANA, this 21st day of July, 2023

                                                                  s/ Robert L. Hammonds
                                                                 ROBERT L. HAMMONDS




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